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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA

          vs                          4:96CR00233-01-WRW

ABREN WILLIAMS


                                 AMENDED AND SUBSTITUTED
                                JUDGMENT AND COMMITMENT

          The above entitled cause came on for a hearing on the petitions to revoke the supervised

release granted this defendant. Upon the basis of the evidence presented, the Court found that the

defendant did violate certain conditions of his supervised release without just cause.

          IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release granted this

defendant be, and it is hereby, REVOKED.

          The defendant is sentenced to a period of 36 months at a designated Bureau of Prisons

correctional facility to run consecutively to his previously imposed state court sentence in Pulaski

County Circuit Cases CR 08-3009 and CR 08-3992. The defendant is to participate in residential

substance abuse treatment during incarceration        There is no supervised release to follow

incarceration.

           The defendant is remanded into the custody of the U.S. Marshal.

          IT IS SO ORDERED this 22nd day of September, 2009.




                                                    /s/Wm. R. Wilson, Jr.
                                              UNITED STATES DISTRICT JUDGE




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